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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 KASIM KURD, et al.,
      Plaintiffs,
      v.                                                 Civil Action No. 18-1117 (CKK)
 REPUBLIC OF TURKEY, et al.,
      Defendants.

                                            ORDER
                                       (February 14, 2025)

       For the reasons explained in the Court’s earlier [328] Memorandum Opinion & Order, it is

hereby ORDERED, pursuant to 28 U.S.C. § 636(b), Local Rule of Civil Procedure 72.1(b)(1)–(2)

and (7), and Local Rule of Civil Procedure 72.3(a), that Plaintiffs’ [241] Motion for Default

Judgment is directly referred to Magistrate Judge Matthew J. Sharbaugh for a Report and

Recommendation. Magistrate Judge Sharbaugh may conduct hearings, including evidentiary

hearings, on any matter relevant to the disposition of that Motion.



   SO ORDERED.


                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge




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